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                                                                  of 1
                      UNITED STATES DISTRICT COURT           April 29, 2021
                     EASTERN DISTRICT OF CALIFORNIA       CLERK, US DSITRICT COURT
                                                                       EASTERN DISTRICT OF
                                                                           CALIFORNIA


UNITED STATES OF AMERICA,                     Case No. 2:21-cr-00078-JAM-01

                Plaintiff,

      v.                                            ORDER FOR RELEASE OF
                                                     PERSON IN CUSTODY
PARAMPREET SINGH

                Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release PARAMPREET SINGH Case

No. 2:21-cr-00078-JAM-01 Charges 21 USC § 846, 841(a)(1) from custody for the

following reasons:

                      Release on Personal Recognizance

                X     Bail Posted in the Sum of $     6,000,000.00

                             Unsecured Appearance Bond $

                             Appearance Bond with 10% Deposit

                             Appearance Bond with Surety as stated on the record
                         X
                             in open court.

                             Corporate Surety Bail Bond

                             (Other): Pretrial release conditions as stated on the

                             record in open court. Defendant is released to the

                         X   Third Party Custody of Prabjhot Kahlon. Defendant is

                             to report to Pretrial Services telephonically on the first

                             working day following his release from custody.

      Issued at Sacramento, California on at 11:30 AM on April 29, 2021

 Dated: April 29, 2021
